Case 3:17-cv-00072-NKM-JCH Document 899-8 Filed 10/29/20 Page 1 of 4 Pageid#:
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             EXHIBIT 8
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                                                     10/29/20
                                                           PagePage
                                                                1 of 3
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                                                                         August 19, 2020
   The Honorable Norman K. Moon
   United States District Court
   Western District of Virginia
   255 West Main Street
   Charlottesville, VA 22902

                          Re:     Sines et al. v. Kessler et al., No. 3:17-cv-00072 (NKM) (JCH)

   Dear Judge Moon:

           We write on behalf of Plaintiffs to request a conference with the Court to discuss logistical
   considerations concerning our upcoming trial, currently scheduled for October 26, 2020. As Your
   Honor is aware, we have recently completed the bulk of fact discovery and are conducting motions
   practice as contemplated by the Court’s November 15, 2019 scheduling order. ECF No. 589. The
   parties anticipate approximately a four-week jury trial with the nine remaining Plaintiffs and 20
   remaining individual and entity Defendants. As we continue to monitor the developments
   regarding COVID-19 both in Virginia and across the country, we have become increasingly
   concerned that conducting a comprehensive and constitutionally adequate jury selection process
   in approximately two months from now – not to mention a jury trial itself involving this many
   parties, litigants, and witnesses – may ultimately prove untenable and potentially dangerous from
   a public health perspective.

           Given the scope and complexity of this case, preparation for trial, which is now underway,
   will be costly and require significant advance planning for parties and witnesses, all of which has
   been made more logistically complicated given the safety precautions we must all observe to keep
   parties, litigants, witnesses, jurors and court personnel safe and healthy. This case also presents
   certain security concerns that only increase those complications, including necessary coordination
   with the Court as well as the marshals in charge of courthouse security. With that in mind, Plaintiffs
   request a conference with the Court and all parties at the Court’s earliest convenience to discuss
   these potential barriers to proceeding with a jury trial on October 26, 2020.



                                                                         Very truly yours,


                                                                         Michael L. Bloch, Esq.
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on August 19, 2020, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

    Justin Saunders Gravatt                            Elmer Woodard
    David L. Hauck                                     5661 US Hwy 29
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    Counsel for Defendant James A. Fields, Jr.
                                                       Counsel for Defendants Matthew Parrott,
                                                       Traditionalist Worker Party, Jason Kessler,
                                                       Nathan Damigo, and Identity Europa, Inc.
                                                       (Identity Evropa)


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                                                       edward@rebrooklaw.com
    Counsel for Defendants Michael Hill,
    Michael Tubbs, and League of the South             Counsel for Defendants Jeff Schoep, National
                                                       Socialist Movement, and Nationalist Front




           I further hereby certify that on August 19, 2020, I also served the following non-ECF
   participants, via electronic mail, as follows:

    Elliot Kline                                       Matthew Heimbach
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                                                08/19/20
                                                     10/29/20
                                                           PagePage
                                                                3 of 3
                                                                     4 ofPageid#:
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                                              /s/ Michael L. Bloch
                                              Roberta A. Kaplan (pro hac vice)
                                              Julie E. Fink (pro hac vice)
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